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I I                                            ' on FLSD Docket 09/27/2021 Page 1 of 13
        Case 9:21-cv-81818-AMC Document 1 Entered
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                                 IN TH E U NITED STA TES D ISTRICT CO U RT
                                FO R TH E SO UTH ER N DISTRICT O F FLOR ID A
                                       W EST PA LM BEA CH DW ISIO N
    i                                                                            m-
           CLW TON STRANGE,                                                F/jyo sy
                                                                             -               =-     ...
                                                                                                  D.c
           Plaintt                                                                                       .



           v.                                                                     SEp 2? 2g2,
!          ADTLLc,                                                               CAJGBLJE.noBzz
                                                                                   sa
!                                                                                 ..jyjsyag cz
                                                                                 sa c    .
!          Defendant                                                                    ' 'jy,'
    l                                     crvll-Aclqox coM lu lx'r
    I
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    l
    I
    l                 FORDAMAGESANDGJUNCTIVERELIEFPURSUANTTOTHE:
                            TELEPH O NE CO NSUM ER PRO TECTIO N A CT OF 1991
                                                  &
                            FLO RIDA TELEPH ON E SO LICITATIO N A CT O F 2021
(

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    I



                                        PR ELIAH NAR Y STATEM EN TS:
i

           1. Therm sePlaintiffClintonStrangeCTLAINTIFF'')bringssuitagainstDefendantADT
                LLC ((WDT'')toenforcethefederalTelephoneConsumerProtectionActof1991(CCTCPA'')
    1
    I           andtheFlolidaTelephoneSolicitationActof2021(CTTSA'').
           2. Assetoutmoref'
                           ullybelow,thePlaintiffseelcsDeclaratoryandhjunctiveRelief,alongwith
                Statutory D am ages,A ctualD am ages,recovety ofexpenses,fees,costs,and pre and orpost

              judgmentsinterestsonjudgmentasallowedbylaw.

                                           JUR ISD IC TIO N & VEN UE:
    $      3. JurisdictionprimarilyarisesinthisU.S.DistrictCourtunderaFederalQuestionastheTCPA
                isafederalstamtepursuantto 28U.S.Codej 1331.
    1




                                                    Page 1of12
Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 2 of 13




    4. Supplem entalJurisdiction would beproperly applied as the Plaintiffsstate law claim s arise

       outofthesamesetoffactsthatgiverisetofederalquestionjurisdictionpmsuantto28U.S.
       Codej1367.
       Venue liesproperin thisU .S.D istrictbecausethe D efendantm aintains itsheadquartersin

       Palm BeachCotmty,FloridaandPlaintiffconsentstothisvenueplzrsuantto28U.S.Codej
       1391.

                                            THE PA RTIES:
       PlaintiffCLIN TON STM N GE is an adultindividualresiding atthe addressof:
                                        CLm TON STM N GE
                                       7021 W INBU RN DRIVE
                                      GREENW O OD ,LA 71033
       D efendantADT LLC isa D elaw are D om esticLiability Com pany principally headquartered
       attheaddress of:

                                            AD T LLC
                                       1501YA M A TO ROA D
                                      BO CA M TON,FL 33431

                                   FA CTUAL A LLEGA TIO N S:
                                        H istodcalBackerotm d
   8. Since2019,the Plaintiffhasbeen receiving callson hisfederally and state Do-N ot-call

       registeredpersonalcellphone num ber318-423-5057 thatare sales calls forD efendant's

       Hom e Alarm system s and selwices.

   9. These callsdisplayed m isleading CallerID information in orderto concealtheidentity ofthe

       callingpartyviaatechniquecalledtilocalneighborhoodspoofnf'.
    10.Thesecalls(odginatingfrom India)wouldutilizeasotmdboardagent(Avatar)pre-recorded
       voiceatthebeginningofthecallsthatwouldaskaseriesofvetting(screening)questions
       before transfening him to a TarrantCounty,Texascallcenter.


                                              Page 2 of12
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            Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 3 of 13




        p                      '
        '       11.Plaintiffdid notm ake A DT awareofthe issue untilAugust2021,atw hich tim ehe m ade

                   them vcry aw are.
        I
        I                                                'rhewarning
        j   '
                12.On orarotm d A ugust17,2021,thePlaintiffclrafted a letterto A DT'SLitigation D epartm ent

                   detailing one ofthe callshereceived and specitically one from January 26,2021. He also

g                  providedsom edetailsofhow heconnectedthatcalltoaNorth CarolinabasedADT
'                  A thodzed Dealernamed Safe StreetsU SA LLC.
'
        j
        i
        1       13oOnAugust26, 2021,am em beroftheAD T DoN otCallteam thatisresponsibleto

                   investigate telem arketing com plaintsnam ed JoeRacz em ailed thePlaintiffthatan

                   investigation w asbeing conducted regarding the m atter,and Plaintiffreplied thataftem oon      '
        I
        I          by providing additionalinformation regarding the specific authorized dealer,and thei.
                                                                                                       r
'
        l          vendorand sub-vendor.
                          ,

        i
        '       14. On Septem ber2,2021,JoeRacz em ailed Plaintiffa copy ofA DT'S undated D o-N ot-call

                   policy titled ST elem arketing Policy Statem enf',and Plaintiffsupplem ented hisclaim by
r
I j                providingatranscriptoftheJanuary26, 2021call.
;       I
        I
,

                15.On Septem ber 10,2021,M aria D iGiorgio,A DT'SA ssistantGeneralCounsel,replied with

i I
  , .
                   theresultsoftheirinvestigation, and as expected,denied liability and referred Plaintiffto the
l

                   dow n-lineparties.
I
i               16.ADT apparently tooknodisciplinary action on SafeStreetsUSA LLC,and SafeStreetsUSA
i

                   LLC likewise took no action againsttheirvendor.

                                                  The D ocum ented lncident

I!
:               17.OnSeptember15,2021at12:41pmCST,thePlaintiffwasinhislivingroomsittingonhis
:
                   couch w atclling television and eating lunch when hisFederaland State ofLouisiana Do-N ot-


                                                          Page3 of12
.   I       Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 4 of 13
    )



                   Calllisted cellphone number318-423-5057 began to ring,vibrate,and illum inate indicating

                   thathe w asreceiving an incom ing callâom alocalnum ber318-232-9654 asdepicted below

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    l
                  inFigureA,whichPlaintiffrepresentsisatrueandaccmatedepictionofhiscellphone's
    1                                                                                                                                                         .

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                  screeninregardtothecall.
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                                                                                                          (318)232-9654                                !
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    I                   C
                        l                                                               '''
    I                   i Update contact L


                                                                                                          FigureA
    j          18. Plaintiffansw ered the callbe-cause itlooked like som eonelocalcalling
                                                                                                                                             ,   and(atthebeginning
    I             ofthecall)anAvatar/SoundboardAgentplayedaseriesofpre-recordedvoicemessage
    I
                  questions vetting Plaintifffora hom e sectlrity system offerthatended w ith çç
                                                                                               A reyou the

                  decisionmakerforthehouseholdît'.PlaintiffreplieddçFcJ'''.
               19.Plaintiffw asthen transferred to EAntonio'w ho said hew asone ofthe Strained specialists'

                  whoaskedPlaintiffsomemorescreeningquestionsinrtgardtotheofferingofaGGsafe
    I             Streetspoweredby ADT'homesecurity system for**347.99 a m onth''before transfening the
    k
    1             Plaintiffto tRonald Stokes'in TarrantCounty, Texasthirteen(13)minutesintothecall.



                                                                                                      Page4 of12
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    Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 5 of 13
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       20.W hen Ronald Stokesgotto the partin the dclosing script'aboutverifying the phonenumber

I
           somethingmusthavetflagged'inhissystem.He(RonaldStokes)gotrealquiet,andaftera
I          few secondsaskedifPlaintiffwasrecordingtheconversation.Plaintiffindicated yes .
l
!                                     ççM
          RonaldStokespolitelyasked, ay1askwà/'.Plaintiffrepliedbyexplainingthathewas
           docum enting the callfora law suit.The TarrantCom lty,Texas callcenter enzpted w ith

(         laughteraudibleinthebackground.PlaintiffthenaskedtospeakwithAshishBhatia(the
          ownerofAmericaHomesecures,Inc.),butwastoldM r.Bhatiawasnotthere.Plaintiffthen
l         askedtospeakwithAlbeartPint'tl(DiredorofFieldOperations)forAmedcaHomesecures,
I         Inc.Plaintiffw asnotvery nice to M r. Pint
                                                   'u.Mr.Pinm promisedtçwewilltakeyoutpf/-//ldlist.
I

l          FcwillnotcallyouJgJfa'.
I
r
       21.OnSeptember15,2021at1:38pm CSTthePlaintiffcalledbacktothenllmberthatappeared
k
!         on hiscallerID to verify thatitw as spoofed and the standard disconnected nnnouncem ent
I
;
          played qqW elcom e to Verizon Wireless. The numberyou have dialed has been changed,
                                                                                   ,




          dîsconnected,or is no longerin service. Ifyoufeelyouhavereachedthisrecordinginerror,

          pleasecheck the num berand ttyyourcallagain. Announcement2 switch 220-2.',
!

)
I
                                     WhythePlaintiffBringstheAction
       22.OnJanuary4,2018,thePlaintiffregisteredhisresidentialcellphonenumber318-423-5057
          on the FederalD o-N ot-calllist,and lateron A ugust2, 2018,registered hisnllm berw ith the

          Louisiana Do N otCallProgram .

       23.Plaintiffregistered his cellphone num berso he would notreceiveunsolicited telem arketing

I         calls.Autodialed telem arketing callsalm oy the Plahltiff A utodialed telem arketing calls that

          play pre-recorded m essages annoy thePlaintiff. They initatehim by internp ting hism eals,

          intenupthistelevision viewing,and they w illnotstop because people like thePlaintiffare


                                                  Page 5 of12
Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 6 of 13




       not(orhavenotbeen)proactiveenoughinlitigatingthetortfeasingmiscreantsandthe
       principalsw ho em ploy them into receivership.

                W hy theD efendantisV icariously Liable forthe Septem ber 15. 2021 Call
   24.AD T hasbeen aw are sincethe inception oflitigation in Abramson v. SafeStreetsUSA LLC,

       et.al.,No.20-cv-62325(S.D.F1a.)andJonesetal.v.SafeStreetsUSA LLC eta1.,No.5:19-
       cv-00394-BO (E.D.N.C.)thatSafeStreetsUSA LLC,actingonbehalfofADT,hires
       vendors,who in ttu'
                         n hire sub-vendors to m arketAD T hom e seclzrity system stbrough illegal

       telem arketing.

   25.ADTwasalsoawareofthePlaintifrsspec6callegationsregardingtheexactdealer,vendor,
      mld sub-vendorinvolved in theunlaw fulbehavioron Aur st26, 2021,butnonetheless failed

      to acton thisinformation.

                             TH E CO UN TS & CA USES O F A CTION :

                                    CA USE O F A CTIO N N o.I

                                       (Plaintiffv.Defendant)
         Violations oftheFlorida Telephone Solicitation A ct, Fla.Stat.j 501.059 etseq.

   26.Plaintiffincorporatesa11the foregoing paragraphsasthough the sam ew ere setforth atlength

      herein.

   27.PursuanttoFla.Stat.j501.059(1)(a)theSeptember15,2021callwasaTelephone
      Solicitation,and Plaintiffw asthe tdcalled party''who isthe (tregularuserofthe telephone

      num berthatreceives atelephonic salesca11''.

   28.D efendantAD T w asaperson ddm alcing orallowing theplacem entofa telephonic salescall

      by telephone call,textm essage, orvoicem ailtransm ission to deliver orcause to be delivered



                                            Page6 of12
Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 7 of 13




      to the called party a telephonic sales callusing an autom ated system forthe selection or

      dialing oftelephonenum bers,the playing ofa recorded m essagew hen a connection is

      com pleted to anum bercalled''.

   29.ADT isa tdrfelephone solicitor''a naturalperson,fsl= ,organization,partnership,associaion,

      orcorporation,orasubsidial'yoraffiliatethereotldoingbusinessinthisstate,whomakesor
      causes to bem ade a telephonic sales call,including,butnotlim ited to,callsm adeby use of

      autom ated dialing orrecorded m essage devices.

   30.PursuanttoFla.Stat.j501.059(5)çGatelephonesolicitororotherpersonmaynotinitiatean
      outbotm d telephone call,textm essage,orvoicem ailtransm ission to a consum er,business,or

      donororpotentialdonorw ho haspreviously com m unicated to the telephone solicitororother

      person thathe or she doesnotwish to receive an outbound telephone call,textm essage,or

      voicemailtransmission:(a)M adebyoronbehalfofthesellerwhosegoodsorservicesare
      being offered''

   31.DefendantADT isvicadously liabletothePlaintiffbecausethe September15,2021callwas

      madeonbehalfofADT afterPlaintiffadvised them ofhisdesirenotto receivecallsfrom

      them by(theirjdealers,vendors,andsub-vendorsontheirbehalf.
   32.PursuanttoFla.Stat.j501.059(8)(a)C$A personmaynotmakeorknowinglyallow a
      telephonic sales callto be m ade ifsuch callinvolvesatlautom ated system forthe selection or

      dialing oftelephonenum bersortheplaying ofarecorded m essage when aconnection is

      com pleted to anum bercalled withoutthe priorexpressm itten consentofthe called party.''

   33.D efendantADT knowingly allow ed theirdealer,vendor,and sub-vendorto m ake the

      Septem ber 15,2021callon theirbehalfthatplayed pre-recorded voice m essagesatthe

      beginning ofthecallutilizing Soundboard /A vatartechnology.


                                             Page7 of12
Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 8 of 13




    34.PursuanttoFla.Stat.j501.05948)09ttltshallbeunlawfulforanypersonwhomakesa
       telephonic sales callorcauses a telephonicsales callto bem ade to failto transm itorcause

       ,74)/to be transm itted the originating telephone num berand,w hen m ade available by the

       telephone solicitor'scanier,thenam e ofthe telephone solicitorto any calleridentitication

       selvice in use by arecipientofa telephortic salesca11...''Forptuposesofthis section,the

       term çtcalleridentification service''m eansa servicethatallow satelephone subscriberto have

       thetelephone num ber and,where available,thenam e ofthe calling party kansm itted

       contem poraneously with thetelephone calland displayed on a device in or connected to the

       subscdber'stelephone.''

    35.D efendantAD T caused a telephonic salescallto be placed to the Plaintiff s cellphone which

       manipulated(spoofed)theCallerID infonnation.
   36.PlzrsuanttoFla.Stat.j501.059(10)(a)t$A calledpartywhoisaggrievedbyaviolationofthis
       sectionmaybringan actionto:(1) Enjoinsuchviolation.(2) Recoveracttzaldamagesor
       $500,whicheverisgreater.

       (b)Ifthecotu'
                   tfindsthatthedefendantwillfullyorknowinglyviolatedthissection ornzles
       adopted pursuantto this section,the courtm ay,in its discretion,increase the am ountofthe

       aw ard to an am ountequalto notm ore than threetim esthe am ountavailableunderparagraph



   37.Plaintiffseeksstatm orydamagesof$500foreachsubsectiontheDefendant(actingbyand
       thzoughitsagents)thatDefendantADT isvicariouslyliabletothePlaintifffortogetheralong
       withinjtmctivereliefenjoiningDefendantADT actingbyandthroughitsagents9om future
       violations.




                                              Page 8 of12
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        Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 9 of 13



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    !                                                 covxv11
                                         (Plaintiffv.Defendant)
               Violation oftheTelephoneConsumerProtectionActof1991,47U.S.Codej227(b)
            38.Plaintiffincorporatesal1the foregoing paragraphsasthough thesam e w ere setforth atlength

               herein.

           39.Formorethantwentyyears,theU.S.FederalCommunicationsCommission(<EFCC'')has
               explained thatitsKsrtllesgenerally establish thattheparty on whose behalfasolicitation is
    1
    i          m adebearsultim ateresponsibility forany violations.''In reRules (â Regulations
    I
    l          Inl
                 plementingtheTCPA,CCDocketNo.92-90,MemorandumOpinionandOrder,10FCC
    '          Rcd12391,12397(! 13)(1995).
    1      40.In itsJanuary 4,2008 ruling,the FCC likew ise held thata com pany on whosebehalfa
    I
               telephonecallismadebearstheresponsibilityforanyviolations.Id.(specificallyrecognizing
               flon behalfof'liability in the contextofan autodialed orprerecorded m essage callsentto a

               consumerbyathirdpartyonanotherentity'sbehalftmder47U.S.C.j227(b)).
           41.In fact,the FederalCom m unication Com m ission has instructed thatsellerssuch asADT m ay
    1
    i          notavoidliabilitybyoutsotlrcingtelemarketingtothirdparties,suchasSafeStreetsUSA
    l
    I
               LLcandtheirvendorsandsub-vendors:'
                                                t'
                                                 ,E
                                                  Alllowi
                                                        ngthesellertoavoidpotentialliability
    I          b
                y outsourcing itstelem arlceting activitiesto unsupelwised third partiesw ould leave

               consum ers in m any casesw ithoutan effectiverem edy fortelem arketing intrusions.This

               wouldparticularlybesoifthetelemarketerswerejudgmentproof,tmidentifiable,orlocated
               outsidethe United States,asisoften the case.Even where third-party telem arketersare

    '          identifiable,solvent,andamenabletojudgmentlimitingliabilitytothetelemarketerthat
    t
    '          physically placesthe callw ould m ake enforcem entin m any cases substantially m ore
    1
    I
               expensiveandlesseffcient,sinceconsumers(or1aw enforcementagencies)wouldbe

                                                      Page 9 of12




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     :   Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 10 of 13
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                required to sue each m arketerseparately in orderto obtain effective relief. A sthe FCC noted,

                becauseççgsqellersmayhavethousandsofSindependent'marketers,suingoneorafew of
                them isunlikely to m ake a substantive difference forconsum erprivacy.''''M ay 2013 FCC

                Ruling,28FCC Rcdat6588(!37)(internalcitationsomitted).
             42.On M ay 9,2013,the FCC released a D eclaratoly Ruling holding thata corporation orother

     l          entity thatconkactsoutitstelephonemarketing çGmay beheldvicariously liableunderfederal

                CommonlaW PrI
                            'IICiP1esofagencyforviolationsofeithersection2271)orsection227/)
     )                                                                               '
     :          thatarecom m itted by third-party telem arketers.'' SeeIn re JointPetition Filed by D ISH
    i
    1
    !           Network, LLC etal.forDeclarat
                                            oly Ruling Concerning theTCPA Rules,28FCC Rcd6574,
                6574(!1)(2013)(ttM ay2013FCC Ru1ing'').
    i        43.Finally, theM ay 9,2013 FCC Ruling statesthatcalledpartiesm ay obtain tçevidenceofthese
    !

    p           kindsofreiationships...throughdiscovery,iftheyarenotindependentlyprivytosuch
    i
    i           information.''1d.at6592-593(!46).Evidenceofcircumstancespointlgtoapparent
    1           authority on behalfofthe telem arketerç<should be suftk ientto place upon the sellerthe
    1
    l           burdenofdemonstratingthatareasonableconsum erwouldnotsensibly asslzmethatthe
    i
    '
                telem arketerwas acting as the seller'sauthorized agent.'
                                                                        '1d.at6593(!46).
    1
            44.Solmdboardtechnology(interchangeablyreferredtoasan :<Avatar,,)euauestelemarketing
                agentsto com m tm icatew ith custom ersoverthe phone by playing pre-recorded audio clips

                instead ofusing the agent'slivevoice. The agentcan choose apre-recorded clip to ask

                questions thatcorrespond to a custom er, w hile retaining the ability to break into the calland

    $           speaktothecustomerdirectly.Soundboardalsoenablesagentstomakeandparticipatein
    l
               m ultiple calls sim ultaneously. So,the telem arketers can botherm ultiple consllm ersatone
    l          tim e
    1               .
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                                                       Page10 of12

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Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 11 of 13




    45.Defendantisvicadously liabletothePlaintifffor$500 based ontheSeptember15,2021call

       thatviolated47U.S.Codeâ227(b)(1)(A)(iii)pursuantto47U.S.Codej227(b)(3)(B).
    46. lfthe courtfindsthatthe defendantw illfully orknow ingly violated this subsection orthe

       regulationsprescribed tm derthis subsection,the Courtm ay,in its discretion,Z crease the

       am ountofthe aw ard to an am ountequalto notm orethan 3 tim esthe am otm tavailabletm der

       subparagraph(B)ofthisparagraph.

                                             CO UN T II1
                                 (Plaintiffv.Defendant)
        ViolationoftheTelephoneConsumerProtectionActof1991,47U.S.Codej227(c)
    47.Plaintiffincop oratesa11theforegoing paragraphsasthough thesam e w ere setforth atlength

       herein.

    48.DefendantADT hasawrittentTelemarketingPolicyStatement''(DoNotCallPolicy),but
       they do notpractice itasstated.W hen A DT says SI
                                                       ,4D F requires thatAD T'S authorized

       dealersandallthird-partycompanieswhoengageintelemarketingofADT'
                                                                     sproductsor
       servicesensuretheyareincomplianceUS.federalandstatelawsregardingtelemarketing.
       ADlnfurtherrequiresthattheyaccessandJ'cm:againstADT'
                                                          SInternalDoNotCalllist
       prior to plc/cfrlg any outbound calls to consumers.''They ratified and approved ofthe conduct

       oftheirdealer,vendor,and sub-vendorby nottaking action to correctthe m isbehavior.They

       continuedto acceptsalesleadsfrom SafeStreetsUSA LLC even though they lcnew that

       consum erswere being harm ed asdescribed above and stillcontinueto benefit9om the fruits

       ofillegaltelem arketing oftheir services.

    49.Plaintiffuseshis cellphone residentially asa cooking tim er,ahom e television view ing device

       via a Google Chrom ecastapparam s,a hom etelem edicinetoolto connectw ith hisVA

       Healthcare providers,and asa hom e telephone.

                                             Page 11of12
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Case 9:21-cv-81818-AMC Document 1 Entered on FLSD Docket 09/27/2021 Page 12 of 13




    50.Defendantisvicadously liabletothePlaintifffor$500based on theSeptember15, 2021 call

       thatviolated47U.S.Codej227(c)(5)pursuantto47U.S.Codeâ227(c)(5)(B)thatwas
       precededbyacallonJanuary26,2021(twocallsinalz-monthperiod).
    51.tftheCourtfindsthattlzedefendantwillfullyorlcnowinglyviolatedthissubsectionorthe
       regulationsprescribed tm derthissubsection,theCouz'
                                                         tm ay,in itsdiscretion, increase the

       am ountofthe aw ard to an am ountequalto notm orethan 3 tim esthe am ountavailabletm der

       47U.S.Codej227(c)(5)(B)pursuantto47U.S.Code5227(c)(5)(C).

                                     PM Y ER FO R RELIEF:

    W herefore,thePlaintiffseeksjudgmentinPlaintiff'sfavoranddamagesagainsttheDefendant
   based on thefollow ing requested relief:
    Statutory D am ages;

   Trebled Dam ages;

    Stacked D am ages;

   Enjoinderfrom FutureViolations'
                                 ,
   Costs,Feesand Expenses;

   Pre and orPostJudgm entInterestasA llow able by Law ;

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